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                                                United States of America
                                        FEDERAL TRADE COMMISSION
                                                Washington, DC 20580



Division of Advertising Practices
   Edward Glennon
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                                                                 April 26, 2022
     VIA ECF
     Hon. Louis L. Stanton, U.S.D.J.
     United States District Court
     Southern District of New York
     500 Pearl Street
     New York, NY 10007

     RE:        FTC, et al. v. Quincy Bioscience Holding Co., Inc., et al. (17-CV-00124-LLS)

     Dear Judge Stanton:

             Plaintiffs, the Federal Trade Commission (“FTC”) and the People of the State of New
     York by Letitia James, Attorney General of the State of New York (“NYAG”) (collectively,
     “Plaintiffs”) respectfully request that the Court enter the deadlines below to exchange proposed
     trial exhibit lists and complete briefing for the two summary judgment motions and a request to
     file under seal that are currently pending before the Court. Defendants have consented to all of
     the requested deadlines.

             This letter constitutes the first request to modify the schedule for the submission of
     pretrial materials set out in the Court’s order of November 23, 2021 (Dkt No. 192) (“Pretrial
     Order”). This also is the first request for additional time to submit briefs related to Defendants’
     motion for summary judgment and request for sealing, both filed on April 14, 2022 (Dkt Nos.
     219 and 220). The NYAG, with Defendants’ consent, previously requested additional time for
     opposition and reply briefs for Mark Underwood’s motion for partial summary judgment (Dkt
     No. 210). The Court granted that request on March 30, 2022 (Dkt No. 216).

                The parties have agreed to the following deadlines:

                •          Parties shall exchange proposed exhibit lists (paragraph 4 of the Pretrial Order) by
                           April 28, 2022.

                •          The NYAG’s opposition to Mr. Underwood’s motion for partial summary
                           judgment (Dkt No. 210) is due by May 6, 2022.

                •          Plaintiffs’ oppositions to Defendants’ April 14, 2022 motion for summary
                           judgment (Dkt No. 220) and request to file under seal (Dkt No. 219) are due by
                           June 16, 2022.
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       •       Mr. Underwood’s reply to the NYAG’s opposition to partial summary judgment
               is due by June 23, 2022.

       •       Defendants’ replies in support of their April 14, 2022 motion for summary
               judgment (Dkt No. 220) and request to file under seal (Dkt No. 219) are due by
               July 8, 2022.

       The parties continue to negotiate the deadlines for paragraphs 5-9 of the Pretrial Order
and will seek the Court’s approval for any additional modifications.


                                                     Respectfully,

                                                     /s/ Edward Glennon
                                                     Edward Glennon
                                                     Federal Trade Commission

                                                     /s/ Kate Matuschak
                                                     Kate Matuschak
                                                     New York State Office of the
                                                     Attorney General

cc: All parties via ECF
